JS44 (Rev. 10/2020 NDGHASE 1:21-cv-03161-TW Cy PACER SHER 08/04/21 Page 1 of 2

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other
for the purpose of initiating the civil docket record. (SEE

local rules of court. This form is required for the use of the Clerk of Court

papers as required by law, except as provided by
INSTRUCTIONS ATTACHED)

 

I. (a) PLAINTIFF(S)

DEREK CARRIER and DORA CARRIER, individually, and on
behalf of all others similarly situated

(b) COUNTY OF RESIDENCE OF FIRST LISTED

PLAINTIFF Clark County

(EXCEPT IN U.S, PLAINTIFF CASES)

(c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND
E-MAIL ADDRESS)
Michael McGlamry - POPEMCGLAMRY, PC
3391 Peachtree Road, Suite 300
Atlanta, GA 30326
Telephone: (404) 523-7706
Email: mmcglamry@pmkm.com

 

DEFENDANT(S)

RAVI ZACHARIAS INTERNATIONAL MINISTRIES, INC., a
901(c)(3) Corporation; RZIM PRODUCTIONS, INC., a
Georgia Non-Profit Corporation; MARGARET ZACHARIAS,
in her Capacity as ADMINISTRATOR OF THE ESTATE OF
RAVI KUMAR ZACHARIAS

COUNTY OF RESIDENCE OF FIRST LISTED

DEFENDANT Fulton County

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED

ATTORNEYS (IF KNOWN)

 

II. BASIS OF JURISDICTION

(PLACE AN “X" IN ONE BOX ONLY)

PLE DEF
Cs FEDERAL QUESTION
(U.S. GOVERNMENT NOT A PARTY)

VI, DIVERSITY

(INDICATE CITIZENSHIP OF PARTIES
IN [TEM III)

ia 1 U.S. GOVERNMENT
PLAINTIFF

Leal U.S. GOVERNMENT
DEFENDANT

 

O I O, CITIZEN OF THIS STATE
MI, a CITIZEN OF anvimecsaael (a

i; CL; CITIZEN OR SUBJECT OF A El

FOREIGN COUNTRY

If. CITIZENSHIP OF PRINCIPAL PARTIES

(PLACE AN *X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)

(FOR DIVERSITY CASES ONLY)

PLF DEF
a] 4 4 INCORPORATED OR PRINCIPAL
PLACE OF BUSINESS IN THIS STATE

INCORPORATED AND PRINCIPAL
PLACE OF BUSINESS IN ANOTHER STATE

Ui.

FOREIGN NATION

 

IV. ORIGIN tact an+x+tn one Box onty)
[], onteman

PROCEEDING STATE COURT APPELLATE COURT REOPENED

MULTIDISTRICT
8 LITIGATION -
DIRECT FILE

C1. REMOVED FROM Cs REMANDED FROM CI. REINSTATED OR Cs

TRANSFERRED FROM
ANOTHER DISTRICT
(Specify District)

APPEAL TO DISTRICT JUDGE
FROM MAGISTRATE JUDGE
JUDGMENT

MULTIDISTRICT Ee
C] 6 LITIGATION - 7
TRANSFER

 

V. CAUSE OF ACTION cre tue us. civic stature UNDER WHICH you

JURISDICTIONAL STATUTES UNLESS DIVERSITY)

ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE

28 U.S.C. § 1332(d); 28 U.S.C. § 1367; Violation of the Georgia Charitable Solicitations Act, O.C.G.A. sections 43-17-1, et

seq. and Unjust Enrichment

(IF COMPLEX, CHECK REASON BELOW)
1.
Ce.
C3.

C4.
Os,

Cle
EV
Cs.
L]9.
Cho.

Unusually large number of parties.

Unusually large number of claims or defenses.
Factual issues are exceptionally complex
Greater than normal volume of evidence.

Extended discovery period is needed.

Problems locating or preserving evidence

Pending parallel investigations or actions by government.
Multiple use of experts.

Need for discovery outside United States boundaries,

Existence of highly technical issues and proof.

 

CONTINUED ON REVERSE

 

| FOR OFFICE USE ONLY
RECEIPT # AMOUNT $ APPLYING IFP
JUDGE MAG. JUDGE NATURE OF SUIT.

(Referral)

 

MAG. JUDGE (IFP)
CAUSE OF ACTION
Case 1:21-cv-03161-TWT Document 1-1 Filed 08/04/21 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X" IN ONE BOX ONLY)

CONTRACT - "0" MONTHS DISCOVERY TRACK
LJ 150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
| 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
(71 153 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
110 INSURANCE
120 MARINE
130 MILLER ACT
140 NEGOTIABLE INSTRUMENT
131 MEDICARE ACT
160 STOCKHOLDERS' SUITS
190 OTHER CONTRACT
195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT

240 TORTS TO LAND

245 TORT PRODUCT LIABILITY

290 ALL OTHER REAL PROPERTY

 

 

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK
310 AIRPLANE
EA 315 AIRPLANE PRODUCT LIABILITY
320 ASSAULT, LIBEL & SLANDER
| 330 FEDERAL EMPLOYERS' LIABILITY
340 MARINE
345 MARINE PRODUCT LIABILITY
350 MOTOR VEHICLE
355 MOTOR VEHICLE PRODUCT LIABILITY
360 OTHER PERSONAL INJURY
362 PERSONAL INJURY - MEDICAL
MALPRACTICE
[7365 PERSONAL INJURY - PRODUCT LIABILITY
CO 367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY
[7] 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

 

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK
370 OTHER FRAUD
371 TRUTH IN LENDING
380 OTHER PERSONAL PROPERTY DAMAGE
| 385 PROPERTY DAMAGE PRODUCT LIABILITY

 

 

 

 

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK

440 OTHER CIVIL RIGHTS

441 VOTING

442 EMPLOYMENT

443 HOUSING/ ACCOMMODATIONS

445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other

448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK

462 NATURALIZATION APPLICATION
465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK

463 HABEAS CORPUS- Alien Detainee

510 MOTIONS TO VACATE SENTENCE
30 HABEAS CORPUS

535 HABEAS CORPUS DEATH PENALTY

540 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se

360 CIVIL DETAINEE: CONDITIONS OF

CONFINEMENT

Hee PETITIONS - "4" MONTHS DISCOVERY

TR

FOR
RA

if

LAB

  

PROPERTY RIGHTS -

 

aT 550 CIVIL RIGHTS - Filed by Counsel
[_] 555 PRISON CONDITION(S) - Filed by Counsel

 

FEITURE/PENALTY - "4" MONTHS DISCOVERY

(CJ 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
oO 690 OTHER

OR - "4" MONTHS DISCOVERY TRACK

710 FAIR LABOR STANDARDS ACT

720 LABOR/MGMT. RELATIONS

740 RAILWAY LABOR ACT

751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION

4 791 EMPL. RET. INC. SECURITY ACT

   

“4" MONTHS DISCOVERY

TRACK

820 COPYRIGHTS
(J s40 TRADEMARK
([) 880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

PROPERTY RIGHTS - "8" MONTHS DISCOVERY
TRACK

$30 PATENT
[=] §35 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

SOCIAL SECURITY - "0" MONTHS DISCOVERY
TRACK
861 HIA (1395ff)

862 BLACK LUNG (923)
863 DIWC (405(z))

863 DIWW (405(x))

864 SSID TITLE XVI
865 RSI (405(g))

 

oa TAX SUITS - "4" MONTHS DISCOVERY

 

us , 870 TAXES (U.S. Plaintiff or Defendant)
(1) 871 IRS- THIRD PARTY 26 USC 7609

OTHER STATUTES - "4" MONTHS DISCOVERY
TRACK
375 FALSE CLAIMS ACT
376 Qui Tam 31 USC 3729(a)
400 STATE REAPPORTIONMENT
30 BANKS AND BANKING
450 COMMERCE/ICC RATES/ETC.
460 DEPORTATION
470 RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS
480 CONSUMER CREDIT
485 TELEPHONE CONSUMER PROTECTION ACT
490 CABLE/SATELLITE TY
890 OTHER STATUTORY ACTIONS
891 AGRICULTURAL ACTS
893 ENVIRONMENTAL MATTERS
895 FREEDOM OF INFORMATION ACT 899
EI 899 ADMINISTRATIVE PROCEDURES ACT /
O

 

REVIEW OR OEPEAL OF AGENC ¥ DECISION

OTHER STATUTES - "8" MONTHS DISCOVERY
TRACK

410 ANTITRUST
850 SECURITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - “0" MONTHS DISCOVERY
TRACK

[896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

 

VII. REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23

DEMAND §

 

JURY DEMAND WW] y rs O NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

 

VIII. RELATED/REFILED CASE

JUDGE

(S) IF ANY

DOCKET NO.

 

ens ARE DEEMED RELATED IF THE PENDING CASE INVOLVES:

1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

[-]2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACT
(-]3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR T
(14. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND

BANKRUPTCY JUDGE,

(15. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
(6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(17. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREV

DISMISSED. This case [J is

IOUSLY INVOLVED IN CASE NO,
Cis nor (check one box) SUBSTANTIALLY THE SAME CASE.

——$—$—$—$—

(CHECK APPROPRIATE BOX)

ION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
RADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

» WHICH WAS

 

SIGNATURE OF Tone

S14 1202

DATE
